                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         DANVILLE DIVISION

 UNITED STATES OF AMERICA                     )
     v.                                       )     Case No.: 4:18-CR-00011-01
                                              )
 MARCUS JAY DAVIS,                            )
    Defendant                                 )

         ORDER GRANTING MOTION FOR EXTENSION OF TIME

       This matter comes before the Court on the Defendant’s Motion pursuant to

 Rule 45(b) of the Federal Rules of Criminal Procedure for an extension of time to

 file his motion new trial and memorandum in support thereof pursuant to Rule 33 of

 the Federal Rules of Criminal Procedure. The Court finds that there is good cause

 to grant this extension of time based upon the reasons contained in the Defendant’s

 written motion. THEREFORE, IT IS HEREBY ORDERED that the Defendant’s

 Motion is granted, and his time to file a Motion pursuant to Rule 33 of the Federal

 Rules of Criminal Procedure is extended to December 17, 2019.

 ENTER THIS ____ day of December, 2019.



                                _______________________________
                                UNITED STATES DISTRICT JUDGE




                                          1

Case 4:18-cr-00011-MFU-RSB Document 1163-1 Filed 12/17/19 Page 1 of 1 Pageid#:
                                  10208
